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                          UNITED STATESDISTRICTCOURT
                          EASTERNDISTRICTOF LOUSIANA
                                  ------x
THAD TATUM,
an individual,                                   CASENO.:

             Plaintiff,
                                                 Judge:
vs.

FAIR ZONEFOODSTORE#2.LLC.
                                                 Magistrate:
a LouisianaLimited Liability Company,

             Defendant.


                                      COMPLAINT

      Plaintifl THAD TATUM, by and through his undersignedcounsel,hereby files this

ComplaintandsuesFAIRZONEFOODSTORE#Z,LLC,alouisiana LimitedLiabilityCompany,

for declaratoryand injunctive relief, attorneys'fees,and costspursuantto the Americanswith

           Act, 42 U.S.C.$ 12181et s€Q.,andalleges:
Disabilities

                            JURISDICTION AND PARTIES

l.    This is an actionfor declaratoryandinjunctiverelief pursuantto Title III of the Americans

                                                              referredto asthe*ADA"). This
       With DisabilitiesAct, 42U.S.C.S l2l 8l etseq.(hereinafter

       Courtis vestedwith originaljurisdictionpursuantto
                                                      28 U.S.C.SS1331and1343.

2.     Venueis properin this Courtptrsuantto 28 U.S.C.$1391(b).
                                                          *MR. TATUM" oT"PLAINTIFF"), is
3.     Plaintiff, THAD TATUM, (hereinafterreferredto as

       a residentof OrleansParish,Louisiana.
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4.    MR. TATUM is a qualified individual with a disability under the ADA. MR. TATUM is

      affl icted with paraplegia.

5.    Due to his disability, PLAINTIFF is substantiallyimpaired in severalmajor life activities and

      requires a wheelchair or walker for mobility.

6.    Upon information and belief, Defendant FAIR ZONE FOOD STORE #2, LLC                     is a

      Louisiana Limited Liability Compffiy, registeredto do businessin the State of Louisiana

      (hereinafter referred to as "DEFENDANT").       DEFENDANT is the owner, lessee,lessor

      and/or operator of the real properties and improvementswhich is the subject of this action,

                                         atlSZlGentillyBlvd.,NewOrleans,LAT0l19.
      towit:B&CMeatMarket,generallylocated

      The DEFENDANT is obligated to comply with the ADA.

7.    All events givirrg rise to this lawsuit occurred in the EasternDistrict of Louisiana, Orleans

      Parish,Louisiarra.



                     couNT I - VIOLATION OF'TITLE III OF THE
                        AMERICANS WITH DISABILITIES ACT

8.                                         | - 7 asif theywereexpresslyrestatedherein.
      PLAINTIFFreallegesandreaversParagraphs

9.                                                subjectto the ADA, generallylocatedat
      ThePropertyis a placeof public acconrmodation,

       1825Gentillylllvd., New Orleans,LA 70119.

10.    MR. TATUM has visited the Propertyand plansto visit the Propertyagainin the near

      future.

ll.   During his visit, MR. TATUM experiencedseriousdifficulty acsessingthe goodsand

                                                                           in paragraph14of
      utilizing the servicesthereindueto thearchitecturalbariers asdiscussed
                                              2
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      this Complaint.

t2.   MR. TATUM continuesto desireto visit the Propefry,but continuesto experienceserious

      difficulty duetc,the bariers discussedin Paragraph14which still exist.

13.   MR. TATUM intendsto andwill visit the Propertyto utilize the goodsandservicesin the

      future,but fearsthathe will encounterthe sameba:riersto accesswhich arethe subjectsof

      this action.

14.   DEFENDANT.isin violationof 42U.S.C.$ l2l 8I et seq.and28 C.F.R.$ 36.302etseq.and

      is discriminatingagainstPLAINTIFF due to, but not limited to the following violations

      which PLAINTIFF personallyobservedand/orencountered
                                                        which hinderedhis access:

             A.      lfhere is no rampfrom the sidewalkto the facility; and

             B.      llhe counterswithing the facility areat improperheights.

15.   Furthermore,DEFENDANT continuesto discriminateagainstPLAINTIFF, and others

                                                    modificationsin policies,practicesor
      similarly situated,by failing to makereasonable

      procedures,when such modificationsare necessaryto provide PLAINTIFF an equal

      opportunityto participatein, or benefit from, the goods,services,facilities, privileges,

                                whichDEFENDANToffersto the generalpublic;andby
               anclaccommodations
      advantages,

                                               to ensurethatno individualwith a disability
      failingto takesucheffortsthatmaybenecessary

      is excluded, denied services,segregated,or otherwisetreated differently than other

      individuals becauseof the absenceof auxiliaryaidsandservices.

16.   To date,all barriersto accessandADA violationsstill existandhavenot beenremediedor

      alteredin sucha way as to effectuatecompliancewith the provisionsof the ADA, even

      thoughremovalis readilyachievable.
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17.   Removal of the discriminatorybarriers to accesslocated on the Property is readily

      achievable,reasonablyfeasible,and easilyaccomplished,and would not placean undue

      burdenon DEFENDANT.

19.   Removalof the balriersto accesslocatedon the Propertywould providePLAINTIFF an

                      to participatein, or benefitfrom,thegoods,services,andaccommodations
      equalopportuni.ty

      which DEFENDANT offersto the generalpublic.

20.   lndependentof'his intent to return as a patronto the Property,PLAINTIFF additionally

       intendsto returnasan ADA testerto determinewhetherthe barriersto accessstatedherein

       havebeenremedied.

21.    PLAINTIFF has been obligated to retain the undersignedcounselfor the filing and

       prosecutionof this action. PLAINTIFF is entitledto havehis reasonableattorneys'fees,

                       paidby DEFENDANT,pursuantto 42 U.S.C.$ 12205.
       costs,andexpeosos

                PLAINTIFF demandsjudgmentagainstDEFENDANT,andrequeststhe
       WHEREFORE;,

following injunctivea:rddeclaratoryrelief:

       A.     That tlris Court Declare that the Property owned, leasedand/or operatedby

              DEFENDANT is in violationof the ADA;

       B.     Thatthis Courtenteran OrderdirectingDEFENDANTto alterthe facility to make

                          to anduseableby individualswith disabilitiesto thefull extentrequired
              it accessible

              by TitlerIII of the ADA;

       C.     Thatthis CourtenteranOrderdirectingDEFENDANTto evaluateandneutralizeits

                                             towardspersonswith disabilitiesfor a reasonable
              policies,practices,andprocedures

                                                  andcompletionof correctiveprocedures;
              amountof time, allowingimplementation
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D.   Tht this Court awad reasonsbleattorneys'fses,costs(incldhg expertfees),and

     otbr expffisssof suit, to PLAINTIFF; ad

                                                                         jtrst and
     That this Court awardsuehother ad fiurtherrelief as it deemsnecessary,

     Proltcr.

                                                   Sub'mitted,
                                        Reepectfully

                                        TIM BIZERLAWFIRM
                                        Attorneysfor Plaintiff
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